
DAVIS, Judge.
Nissa Baillie appeals her conviction and sentence for three counts of manslaughter and one count of grand theft. Baillie argues that the trial court erred in failing to grant a judgment of acquittal as to the manslaughter charges and in failing to sever the grand theft charge from the manslaughter charges. She further alleges that the prosecutor’s remarks in closing argument, while not objected to, constitute fundamental error. Finally, she challenges her sentencing under the 1995 sentencing guidelines. While we are not persuaded by the first two arguments, following a thorough review of the record, we conclude that, given this extremely close case, the prosecutor’s remarks in closing argument rise to the level of fundamental error. Accordingly, we reverse Baillie’s manslaughter convictions and remand for a new trial. See Miller v. State, 782 So.2d 426 (Fla. 2d DCA 2001). Because we reverse Baillie’s convictions, we decline to address her sentencing issue as moot.
SALCINES, J., concurs.
BLUE, A.C.J., concurs in part; dissents in part.
